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AO 91 (Rev. 11/11) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                                for the
                                                      DistrictDistrict
                                                 __________    of Columbia
                                                                       of __________

                  United States of America                         )
                             v.                                    )
                          PAUL RAE
                                                                   )       Case No.
                                                                   )
                                                                   )
                                                                   )
                                                                   )
                          Defendant(s)


                                                 CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                   January 6, 2021              in the county of                                 in the
                       District of           Columbia          , the defendant(s) violated:

            Code Section                                               Offense Description

 18 U.S.C. 1512(c)(2)                           Corruptly Obstruct, Influence, or Impede any Official Proceeding

 18 U.S.C.1752(a)(1)and(2)                      Knowingly Enter and Remain in any Restricted Building or Grounds
                                                without Lawful Authority and Engage in Disorderly or Disruptive
                                                Conduct in any Restricted Buildings or Grounds.



         This criminal complaint is based on these facts:
See attached statement of facts.




         ✔ Continued on the attached sheet.
         u



                                                                                              Complainant’s signature

                                                                                    Jesse P. Marotta, Special Agent, FBI
                                                                                               Printed name and title

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7HOHSKRQH VSHFLI\UHOLDEOHHOHFWURQLFPHDQV                                                                 Digitally
                                                                                                              signed by G.
Date:             03/23/2021                                                                                  Michael Harvey
                                                                                                       Judge’s signature

City and state:                         Washington, D.C.                              G. Michael Harvey, U.S. Magistrate Judge
                                                                                               Printed name and title
